Case 8:14-cV-00899-.]VS-AN Document 9 Filed 07/21/14 Page 1 of 2 Page |D #:47

 

UNITED STATES DISTRICT C()URT
CENTRAL DISTRICT OF CALIFORNIA

JOSEPH R. MANNING, JR._, Individually and On Behalf of
Ai] Others Simiiarly Situated,

Piaimiff(s),
V.
LENDIo, INC. and DoEs 1 TO 10

Defendant(s).

PLEAsE TAKE NoHCE; (check ane)

CASE NUMBER
8:14-cv-00899-5VS-AN

 

 

NoTICE OF I)ISMISSAL PURSUANT
To FEDERAL RULES oF CIVIL
PRoCEDURE 41(3) or (e)

[E' This action is dismissed by the Plaintiff(s) in its entirety.

§§ The Counterclaim brought by Claimant{s)

is

 

dismissed by Claimant(s) in its entirety.

|:| The Cross-Claim brought by Claimants(s)

is

 

dismissed by the Ciaimant(s) in its entirety.

is

 

|:i The Third»party Claim brought by Claimant(s)
dismissed by the C]aimant(s) in its entirety.

|:| ONLY Defendant(s)

 

 

is/are dismissed from (check one) |“_'¥ Complaint, |Ii Counterciaim, |:§ Cross-claim, |:l Third-Party Claim

brought by

 

The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).

:/M M-l/\

07/21/2014
Date

 

Signalure ofAttorney/Pw'ty

NOTE.' F.R.Civ.P. 41 (a).' This notice may be filed at any time before service by the adverse party of an answer or of a motion for

summary judgment, whichever first occurs.

F.R.Civ.P. 41(.':): Counterclaims, cross-claims & rhir¢i~panfv claims may be dismissed before service of a responsive

pleading or prior to the beginning of triaL

 

CV~()9 (03/10)

NO'I`ICE OF DESMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(3} or {c)

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e 8:14-cV-00899-.]VS-AN Document 9 Filed 07/21/14 Page 2 of 2 Page |D #:48

PROOF OF SERVICE

l, the undersigned, am employed in the County of Orange, State of
California. l am over the age of eighteen (18) years and not a party to the cause.
My business address is 4667 MacArthur Blvd., Suite 150, Newport Beach, CA
92660.

On July 21, 2014 l served the true copies of the foregoing document
described as NOTICE OF DIMISSAL PURSUANT TO FEDERAL RULES
OF CIVIL PROCEDURE 41(A) OR (C) on the interested parties in this
action, addressed as foilows:

Agentfor Service of Process.'

Eihan Hanson

Lendio, Inc.

10235 Souih Jordan Gaieway, Suite 410
South Jordan, UT 84()95

[X] BY United States Pcstal Service: The documents Were mailed as set
forth above by U.S. Mail and placed in sealed, addressed envelopes on the
above date and deposited into a U.S. Postal Service Mail box on the date set
forth above, With postage thereon fully prepaid at Newport Beach, Caiifornia
prior to the time for collection on that day. l am aware that on motion of the
party served, service is presumed invalid if postal cancellation date or postage
meter date is more than one day after date of deposit for mailing in the
affidavit

l declare under penalty of perjury under the laws of the United States that
the foregoing is true and correct and that this affidavit vvas executed on Juiy 21 ,

2014.
need _.

Amyl oine€ro

 

PROOF OF SERVICE
l

 

 

 

